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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                                    CR-19-90-BLG-SPW

                        Plaintiff,
                                                          ORDER

           vs.



 MEREDITH McCONNELL,

                        Defendant.



   Upon the United States' Unopposed Motion to Dismiss Misprison of a Felony

in Superseding Indictment(Doc. 157), and for good cause appearing,

  IT IS HEREBY ORDERED that, pursuant to Fed. R. Crim. P. 48(a), Count

VIII of the Superseding Indictment, which charges Misprision of a Felony, is

DISMISSED.


  The Clerk of Court is directed to notify counsel of the making of this Order.

      DATED this // day of January, 2021.

                               SUSAN P. WATTERS
                               UNITED STATES DISTRICT JUDGE
